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                                                   ((A')
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                                                                          rNDEX No. 153478/2oLg
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           SUPREME COIJRT OF THE STATE OF NEW YORK
           COIINTY OT RICHMONI)

                                                                                         PlaintiffDesignates
           FITNETE BEGAJ,                                                            RICHMOND COUNTY
                                                                                        As the Place of Trial

                                      Plaintiffs,                                     The Basis of Venue is:
                                                                                         Plaintiffs residence
                   -against-


           TARGET CORPORATION,                                                             SUMMONS
                                                                                        Plaintiffs Rssidence:
                                         Defendants                                          75 Mace Avenue
                                                                                     Statenlslaod, New York

           TO THE ABO\TE NAMED DEF'EFIDA]TIT:

                   yOU ARE IIEREBY SUMMOITIED to answerthe Complaint inthis Actionandto serve
           a copy of your Answer, or, if the Complaint is not sorved with this Summons, to serve aNotice of
           eppearance on the Plaintiffs attorneys within twonty (20) days after service of this Surnmons,
           exclusive of the day of service (or within 30 days after the service is completed ifthis Summons is
           not personally delivered to you within the State of New YorD; and in the ca.se of your failure to
           Appear or Answer, judgment will be taken against you by default for the relief demanded in the
           Complaint.

           Dated: Staten Islan4 New York
                  December 13,2018


                                                                WAGIYER &                  LLP
                                                                Attorneys for Plaintiff(s)
                                                                2508 Amboy Road
                                                                Staten Island, New York 10306
                                                                (718) 667-7400



           TO:    TARGET CORPORATION, 1000 Niooller Mall, TPS-3155, Minneapolis, MN                   55403




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           SIJPREMB COURT OF T}M STATE OF NEW YORK
           COUNTY OF RICHMOND

           FITMTE BEGAJ,

                                                 Plaintitr,
                                                                                      IMRII'IED COMPLAINT
                          -against-

           TARGET CORPORATION

                                                 Defendants


                  plaintifi, complaining of the defendant, by her attorneys, WAGNER & WAGNER, LLP,

           hereby alleges the following upon inforuration and belief:

                  l.      At all times hereinafter mentioned, the plaintiff, Fitrete Begaj, was, and still is a

                          oitizen and resident of the County of Richmond, Borougb of Staten Island, City

                          and State   ofNew York.

                  2.      Upon information and    belffi   at all times hereinafter   mentiond   the defendant,


                          Target Corporation, was, and still is, a oorporation organized and existing rmder

                          and by Virtue of the laws of the State of Minnesota, authorized to do business        in

                          the State ofNow York, with its prinoipal offices located at 1000 Nicollet.ldall,

                          TPS-3 I 55, Minneapolis, Minnesota 55403'

                  3.      That this action falls within one or more of the exceptions set forth in Section

                          1602 of the   Civil Practice Law & Rules.

                  4.      That at all times herein mentioned, the real property known by the steet address

                          2873 Richmond Avenue, Staten Island, New York (Ta:r Blook 2460,Lot              l),

                          together with improvements thereon and the appurtonances thereto, including' but


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                       not limited to a retail store, including all equipmont and installations used in
                                                                                    o'the
                       connection therewith (hereinafter refened to collectively as       Premises") was,


                       and   still is, a oommeroial premises.

                 5.    That at all times hereinafter mentioned, the defendant Target Corporation,

                       conducted business as a retail store at the Premises (hereinafter referred to as.the
                                                                                  7
                       "Target   Store").
                 6.    Tbat at all times, hereinafrer mentioned, the defendant, directly and/or indirectly,

                       througb its servants, agents and/or employees maintained the Target Store.

                 7     T6at at all times, hereinafter mentioned, the defondan! directly and/or indireotly,

                       through its servants, agents and/or employees managed the Target Store.

                 8.    That at all times, hereinaftsr mentioned, the defendant, directly and/or indirectly,

                       through its servants, agents and/or employees operated the Target Store.

                 9     That at all times, hereinafter mentioned, tho defendan! directly and/or indireotly,

                       tlrough its servants, agents and/or employees contolled the Target Store'

                 10.   That at all times hereinafter mentioned, the defendant had an affirmative duty to

                       keep and maintain the Target Store, in good, whole, entire, safe, sound and

                       suitable conditiory free from hazards, nuisances, fiaps and dangerous and/or

                       defeotive conditions.

                 11.   On or about the 9th day of February,20l6, and for some time prior thereto, the

                       defendant through its agents, sorvants and employees, breached, violated and

                       disregarded its affirmative duty, by causing suffering, permitting and allowing the

                       Target Store, to beoome, be and remain in dangerous defective, unsafe and


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                          hazardous condition, so this      it constituted    a nuisance, hazard and trap   to the

                          unwary, particularly plaintiff herein.

                 12.      On or about the 9th day of February,20L6, and for some time prior thereto, the

                          defendant, in spite of acfual notice, through its agents, servants and einployees,

                          breached" violated and disregarded its affirmative duty, by causing suffering,

                          permitting and allowing tho Target Store, to become, be andremain in ddngerous

                          defective, unsafe and hazardous condition, so this it constituted anuisance, hazafi

                          and trap to the unwary, partioularly the         plaintiff herein.

                 13   .   On or about the th day of Febru ary, 2016, and for some time prior thereto, the

                          defondant, in spite ofconstructive notice, through its agents, servants and

                          employees, b,reached, violated and disregarded its          affirmitive duty, by causing

                          suffering, permitting and allowing the Target Store, to become, be and remain in

                          dangerous defestive, unsafe and hazardous condition, so this           it con*ituted    a


                          nuisance, hazatd and trap to the unwary, particularly the plaintiffherein

                 14.      That on the   9th   day of February,20l6, the plaintiff was laurfirlly preseut at the

                          Target Store as a business invitee.ofthe defendant.

                15.       At said time and place, while plaintiffwas lawfulty           and carefully using the


                          dressing rooms located at the Target Store, in the exercise of all due        cre,   she was


                          caused to   fall by reason ofthe aforesaid unsafe, defective, dangerous, and

                          hazardous condition, thereby resulting in serious and permanent personal injuries

                          to the plaintiff.




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               t6.   That the said occunence was direotly the result of, and was duo solely and wholly

                     to, the negligence, catelessness and recklessness ofthe defendan! its agents,

                     servants and/or employees, in the ownership, operation' management,

                     maintenance, supervision, inspection, repair and conbol ofthe Target Store, in

                     particular in failing to use due oare in the maintenance and operation of tho

                     dressing rooms; in failing to use due care in the inspection and cleaning of the

                     dressing rooms; in failing to uso due care in keeping the dressing roonrs free from

                     debris; in failing to properly train the aforesaid servants, agents and/or employees

                     of the defendant in the proper oporation and maintenance of the &essing rooms;

                     all without any fault, negligence, assumption of risk,lack of care, inatt€ntion,

                     inadvertsnce, poor judgement, want of diligenco, or other oulpable oonduct on

                     plaintiff part contibuting thereto'

               t7.   That directly as a result of said occrurence, plaintifl sustained setious personal

                     injuries, a severe shock to hsr neryous system, and oertain internal injuries, and

                     has been caused to suffer severe physical pain and mental mgUish as a result

                     thereof. Upon information and belief, some of these irfruies are ofpermanent and

                     lasting nature. Plaintiff has besn rendered, sick, sore,lame, scarre{ disfigured,

                     scarred and disabled; she has been and may in the future be incapaoitafed from her

                     usual daily activities; and she has been and will in funue be required to seek,

                     obtain and undergo hospital, stugioal, and/or other medical care, attention and

                     treafinent in an effort to cure herself of her said injuries, and to expend and

                     become obligated for out-of-pocket sums ofmoney in oonnectiontherewith.


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                   18.     That by reason of the foregoing, the plaintiff has been darncged in a sum in exoess

                           of the maximum monetary jurisdiction of all lower courts-

                   WHEREFORE, Plaintitr, Fitrete Begaj,       demands judgment against the defendant in a


            sum in excess of the m4dmum monetary jurisdiction of all lower courts togcther with the costs




                                                                 .w
            and disbursements of this aotion and interest from the date of the verdict to be rendered hereon.

            Dated: Staten Islaud, New York                       Yows, etc.
                   December 13,2018




                                                                 WAGNER & WAGI\ER, LLP
                                                                 Attomeys for Plaintitr(s)
                                                                 Office and Post Office Address
                                                                 2508 Amboy Road
                                                                 Staten Island, New York 10306
                                                                 (718) 667-7404




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                                              S.TDMDUALVERIFICSTION


          State   ofNew York                       )
                                                   )       s.s.:
          County of Ricbmond                       )


                     Fitrete Bogaj, beiqg duly sworn, deposes aud says that I am a Plaintiffin the within

          action; I have read the foregoing Complaint and know the conte,lrts thereof; the same is tnte to

          my owD knowledge, except as to the matters therein stated to be alteged upon information and

          belie{, and as to those matters, I believe it to be true.




          Sworn to before me this     JU{
          day   of   t\   q.dprzsx .zoJ-L.


                            Public




                                                       EDWARDWAGNER
                                                 Notary Publlc, gtate of New York
                                                        No.0lWAl880448
                                                  Qualtflod ln Rlchmond GountY
                                                 Commlsclon ExPlree Dec. 15,20i8




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   SUPREME COURT OF TI{E STATE OF NEW YORK
                                                                   lndex No.                     Year 2018
   COI.]NTY OF RICHMOND



   FITNETE BEGAJ,

                                                                                 Plaintiff(s),

                                             against

   TARGET CORPORATION,

                                                                                 Defendant(s).



                           SUMMONS AND YERIFIED COMPLAINT


                                  WAGNER& WACNER, LLP
                                   Attorneys for Plaintif(s)
                                        2508 Amboy Road
                                  Staten Island, New York I 0306
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